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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

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11   JUAN CHAVEZ,                  )         NO. CV 24-823-FMO(E)
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )         ORDER ACCEPTING FINDINGS,
                                   )
14   STATE ACTOR CONDUCT DOES,     )         CONCLUSIONS AND RECOMMENDATIONS
     ET AL.,                       )
15                                 )         OF UNITED STATES MAGISTRATE JUDGE
               Defendants.         )
16   ______________________________)

17

18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the

19   Complaint, all of the records herein and the attached Report and

20   Recommendation of United States Magistrate Judge.          Further, the Court

21   has engaged in a de novo review of those portions of the Report and

22   Recommendation to which any objections have been made.           The Court

23   accepts and adopts the Magistrate Judge’s Report and Recommendation.

24

25         IT IS ORDERED that Judgment shall be entered dismissing the

26   action without prejudice.

27   ///

28   ///
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 1        IT IS FURTHER ORDERED that the Clerk serve forthwith a copy of

 2   this Order and the Judgment of this date on Plaintiff.

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 4              DATED: June 7, 2024.

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 7                                           ______________/s/_________________
                                                   FERNANDO M. OLGUIN
 8                                            UNITED STATES DISTRICT JUDGE

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